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15    Louis Milusnic and Michael Carvajal
16                            UNITED STATES DISTRICT COURT
17
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
19                                        WESTERN DIVISION
20    YONNEDIL CARROR TORRES; et                     No. CV 20-4450- CBM-PVCx
      al.,
21                                                   DEFENDANTS-RESPONDENTS’
                 Plaintiff-Petitioners,              [PROPOSED] STATEMENT OF
22                                                   UNCONTROVERTED FACTS AND
                       v.                            CONCLUSIONS OF LAW IN
23                                                   SUPPORT OF MOTION FOR
      LOUIS MILUSNIC, et al.,                        SUMMARY JUDGMENT
24
                 Defendants-Respondents.             Hearing Date: June 29, 2021
25                                                   Time:         10:00 a.m.
                                                     Courtroom: 8B
26
27                                                   Honorable Consuelo B. Marshall
                                                     United States District Judge
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                                                 1
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 1          Defendants-Respondents Louis Milusnic and Michael L. Carvajal
 2    (“Respondents”) submit the following proposed Separate Statement of Uncontroverted
 3    Facts and Conclusions of Law in support of Respondents’ Motion for Summary
 4    Judgment.
 5                STATEMENT OF UNCONTROVERTED FACTS (“UF”)
 6     UF   UNDISPUTED FACT                               SUPPORTING EVIDENCE
 7     1.   Jessica Figlenski, the Central Office Quality Declaration of Jessica Figlenski
 8          Improvement/Infection Prevention &            filed concurrently herewith
 9          Control Consultant responsible for the        (“Figlenski Decl.”) ¶ 4, Exs. 1-3,
10          Western Region within the Federal Bureau      7-14; Declaration of James
11          of Prisons (BOP), Lawrence Cross, the         Engleman filed at Dkt. No. 25-2
12          Health Services Administrator at the Federal at ¶¶ 51-87; Declaration of
13          Correctional Complex in Lompoc,               Lawrence Cross filed at Dkt. No.
14          California (“FCC Lompoc”), and James          25-1 at ¶¶ 15-33.
15          Engleman, the Associate Warden at FCC
16          Lompoc, believe that the BOP has followed
17          guidance and directives from the CDC,
18          World Health Organization (WHO), the
19          Office of Personnel Management (OPM),
20          the Department of Justice (DOJ), and the
21          White House in responding to the COVID-
22          19 pandemic.
23     2.   On August 31, 2020, the BOP released a        Figlenski Decl. ¶ 4, Exs. 1-3, 7-
24          COVID-19 Pandemic Response Plan that          14;
25          compiles previous guidance, including all     www.bop.gov/foia/docs/
26          phases of its Action Plan, and provides a     overview_of_COVID_Pandemic_
27          comprehensive document with specific          Response_Plan_08312020.pdf
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 1          guidance for limiting the spread of COVID-
 2          19 at BOP institutions.
 3     3.   The COVID-19 Pandemic Response Plan           Figlenski Decl., Exs. 1-3, 7-14;
 4          contains eleven modules incorporating         Dkt. No. 25-1 ¶ 54; Dkt. No. 25-2
 5          guidance from the Centers for Disease         ¶¶ 15-16, 25.
 6          Control (CDC), World Health Organization
 7          (WHO), and the Department of Justice
 8          (DOJ).
 9     4.   Jessica Figlenski, the Central Office Quality Figlenski Decl. ¶¶ 4, 9, 27.
10          Improvement/Infection Prevention &
11          Control Consultant responsible for the
12          Western Region within the BOP, believes
13          that FCC Lompoc has been operating in
14          compliance with the CDC’s guidance and
15          with the BOP’s COVID-19 Pandemic
16          Response Plan.
17     5.   Jessica Figlenski, the Central Office Quality Figlenski Decl. ¶¶ 8-16.
18          Improvement/Infection Prevention &
19          Control Consultant responsible for the
20          Western Region within the BOP, believes
21          that FCC Lompoc has prevented further
22          COVID-19 outbreaks, like the one that
23          occurred in the spring of 2020, and COVID-
24          19 related deaths by implementing a host of
25          measures, including broad-based testing and
26          adherence to evolving CDC guidelines for
27          infection prevention and control (such as
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 1           cohorting and isolation procedures enacted
 2           after testing every inmate).
 3     6.    Epidemiologist Asma Tekbali believes that       Declaration of Asma Tekbali filed
 4           FCC Lompoc effectively slowed the spread        concurrently herewith (“Tekbali
 5           of COVID-19 through its infection control       Decl.”) ¶ 10, Conclusion ¶ 1.
 6           measures by collaborating with local health
 7           departments, adapting to and implementing
 8           pandemic guidance from the CDC and the
 9           BOP, constructing a COVID-19 hospital
10           unit, and providing masks and materials for
11           hand hygiene to inmates, and offering
12           vaccination to essentially all of the inmates
13           and staff.
14     7.    COVID-19 infection rates increased              New York Times website:
15           throughout California from November 2020        www.nytimes.com/interactive/
16           through February 2021.                          2020/us/california-coronavirus-
17                                                           cases.html
18     8.    Los Angeles County experienced over 1.2         https://coronavirus.jhu.edu/us-
19           million confirmed COVID-19 cases to date.       map
20
21     9.    California has had over 3.6 million total       https://covid19.ca.gov/
22           confirmed positives to date.
23     10.   Epidemiologist Asma Tekbali believes that       Tekbali Decl. ¶ 10.
24           the presence of 0 positive inmate cases at
25           FCC Lompoc as of March 20, 2021 in
26           contrast to the state of the COVID-19
27           pandemic in California is proof that FCC
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 1           Lompoc has effectively slowed the spread
 2           of COVID-19 and evidence that the BOP’s
 3           infection control measures have been
 4           successful at FCC Lompoc.
 5     11.   Epidemiologist Asma Tekbali believes that       Tekbali Decl. Conclusion ¶ 3.
 6           no major outbreak emerged within FCC
 7           Lompoc in early 2021, and nothing
 8           comparable to the rates of infection that
 9           were experienced by the general populace
10           outside the facility over that period.
11     12.   As of May 25, 2021, there are 0 inmate or       https://www.bop.gov/coronavirus/
12           staff COVID-19 cases at FCC Lompoc.
13     13.   Epidemiologist Asma Tekbali believes that       Tekbali Decl. Conclusion ¶ 3
14           while positive tests occurred at FCC
15           Lompoc earlier in 2021, they were limited
16           to the intake of new inmates, and so did not
17           lead to any new outbreaks in the general
18           population at the facility, despite the large
19           surge in COVID-19 rates during the same
20           period outside the facility, which provides
21           further proof that the infection control
22           measures FCC Lompoc implemented have
23           been effective and proper.
24     14.   The first confirmed case of COVID-19 at         Figlenski Decl. ¶ 8.
25           FCC Lompoc was an inmate from USP
26           Lompoc who was swabbed at the local
27           hospital on March 26, 2020 and the positive
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 1               results were reported to FCC Lompoc on
 2               March 30, 2020.
 3     15.       After confirmation of the first case of        Figlenski Decl. ¶ 8.
 4               COVID-19 at USP Lompoc, FCC Lompoc
 5               took immediate action and began
 6               conducting a contact investigation and
 7               screening and testing positively identified
 8               contacts.
 9     16.       Inmates found to test positive were isolated   Figlenski Decl. ¶ 8.
10               and exposed inmates were quarantined and
11               monitored for symptoms.
12     17.       Mass testing at FCI Lompoc took place on       Figlenski Decl. ¶ 9.
13               May 5, 2020.
14     18.       COVID-19 negative inmates were cohorted        Figlenski Decl. ¶ 9.
15               in a dedicated unit at the USP (which has
16               cells instead of open-bay dormitories) to
17               prevent further transmission of the disease
18               among those testing negative.
19     19.       Since the mass testing in May of 2020,         Figlenski Decl. ¶ 9, Ex. 2.
20               inmate testing at FCC Lompoc has been
21               conducted in accordance with the BOP’s
22               COVID-19 Pandemic Response Plan
23               Module 3, Screening and Testing.
24     20.       Section 2 of Module 3 of the COVID-19          Figlenski Decl. ¶ 10, Ex. 2 at 29-
25               Pandemic Response Plan requires that           30 1.
26               symptomatic inmates be isolated and tested
27
28           1
              References to page numbers are to the bold numbers at the bottom center of each
      page of the exhibits to Ms. Figlenski’s Declaration.
                                                  6
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 1           expeditiously and asymptomatic inmates
 2           with known or suspected contact with a
 3           COVID-19 case be quarantined and tested
 4           expeditiously.
 5     21.   Section 2 of Module 3 of the COVID-19          Figlenski Decl. ¶ 10, Ex. 2 at 30
 6           Pandemic Response Plan provides that           (“expanded testing of all inmates
 7           expanded testing of all inmates in an entire   in an entire housing unit should
 8           open bay housing unit should be considered     be considered – especially if the
 9           as part of a robust contact tracing.           unit has open sleeping areas
10                                                          (rather than cells with solid walls
11                                                          and doors)”).
12     22.   FCC Lompoc continues to conduct testing        Figlenski Decl. ¶ 11, Ex. 2 at 27,
13           in accordance with the BOP’s testing           33 (chart showing testing required
14           protocols, which include testing all           for community returns, intakes,
15           incoming and outgoing inmates in               and inmates leaving a BOP
16           accordance with BOP Pandemic Response          facility); Ex. 3 at 47 (“All BOP
17           Plan Module 4, Inmate Isolation and            quarantine categories utilize a
18           Quarantine.                                    test-in/test-out strategy with a
19                                                          quarantine duration of at least 14
20                                                          days (the incubation period of the
21                                                          SARS-CoV2 virus.”)
22     23.   FCC Lompoc also has protocols to               Figlenski Decl. ¶ 10, Ex. 2 at 29-
23           determine when to test inmates within the      30.
24           institution’s general population because of
25           contact investigation.
26     24.   The testing of all inmates releasing or        Figlenski Decl. ¶ 11.
27           transferring out of FCC Lompoc serves as
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 1           random surveillance testing of the
 2           institution’s general population.
 3     25.   As part of intake procedures, all inmates        Figlenski Decl. ¶ 12, Ex. 2 at 30,
 4           who entered FCC Lompoc after the initial         36 (chart showing testing required
 5           outbreak entered quarantine units and were       for community returns, intakes,
 6           tested as determined by existing BOP             and inmates leaving a BOP
 7           testing protocols.                               facility); Ex. 3 at 50.
 8     26.   No later than August 10, 2020, FCC               Figlenski Decl. ¶ 12.
 9           Lompoc tested all incoming inmates,
10           isolated positive inmates, quarantined
11           negative inmates, and re-tested quarantined
12           inmates on or after the 14th day of their
13           quarantine period.
14     27.   These inmates were transferred into the          Figlenski Decl. ¶ 12, Ex. 3 at 49-
15           institution’s general population only if they    50.
16           either had cleared quarantine by having a
17           repeated negative test result or, if positive,
18           after completing the isolation period and
19           being cleared by medical staff.
20     28.   Incoming inmates have no contact with            Figlenski Decl. ¶ 12.
21           inmates in the institution’s general
22           population until they clear quarantine or
23           isolation.
24     29.   As of May 19, 2021, FCC Lompoc has               Figlenski Decl. ¶ 13.
25           conducted over 5,479 COVID-19 tests on
26           1,722 inmates.
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 1     30.   All five of the FCC Lompoc inmates who             Figlenski Decl. ¶ 14.
 2           died of COVID-related illness contacted the
 3           disease during the March-May 2020
 4           outbreak at FCC Lompoc.
 5     31.   FCC Lompoc has not had an inmate                   Figlenski Decl. ¶ 15.
 6           hospitalized for COVID-related illness since
 7           August 20, 2020.
 8     32.   FCI Lompoc has not had a COVID-19 case             Figlenski Decl. ¶ 16.
 9           in its general population since September
10           25, 2020.
11     33.   USP Lompoc has not had a COVID-19 case             Figlenski Decl. ¶ 16.
12           in its general population since December 31,
13           2020.
14     34.   The last lab-confirmed case of COVID-19 at Figlenski Decl. ¶ 16.
15           FCC Lompoc occurred in FCC Lompoc’s
16           intake quarantine with a newly arriving
17           inmate on March 26, 2021 and was detected
18           as part of the BOP’s intake quarantine
19           process.
20     35.   The BOP’s COVID-19 Pandemic Response               Figlenski Decl., ¶ 5, Ex. 1.
21           Plan, Module 11, Employee Management,
22           provides guidance for staff testing,
23           including the identification of testing sites in
24           the local community, requiring staff who
25           test positive to report their diagnosis to the
26           BOP, and indications and priorities for
27           testing.
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 1     36.   The BOP’s Pandemic Response Plan                  Figlenski Decl., Ex. 1 at 15
 2           requires staff to report positive test results,   (“Asymptomatic staff who test
 3           requires asymptomatic staff who test              positive for COVID-19 may
 4           positive to wait at least 10 days before          return to work after 10 days have
 5           reporting to work, and sets forth an              passed since first positive
 6           algorithm for when symptomatic staff may          COVID-19 test) and 17
 7           return to work (with staff who have been          (Algorithm for Symptomatic BOP
 8           hospitalized being required to wait at least      Staff)”.)
 9           20 days since the appearance of symptoms
10           before they return to work.
11     37.   The BOP’s procedures do not permit staff          Figlenski Decl., Ex. 1 at 15
12           with positive test results to report to work      (“Asymptomatic staff who test
13           until the appropriate CDC time-based              positive for COVID-19 may
14           guidance permits them to return.                  return to work after 10 days have
15                                                             passed since first positive
16                                                             COVID-19 test) and 17
17                                                             (Algorithm for Symptomatic BOP
18                                                             Staff).”)
19     38.   As set forth in Section E of Module 11 of         Figlenski Decl. ¶ 6, Exhibit 1 at
20           the Pandemic Response Plan, the BOP has           page 19.
21           established a nationwide contract with Quest
22           Diagnostics to facilitate COVID-19 testing
23           for all BOP employees, including those at
24           FCC Lompoc, via self-swab collection kits.
25     39.   Staff members that meet indications for           Figlenski Decl. ¶ 6, Exhibit 1 at
26           testing specified in Module 11 can obtain a       page 19.
27           collection kit from the institution, complete
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 1           the test, and return it via Federal Express to
 2           the Quest Diagnostics labs for processing.
 3     40.   Staff at FCC Lompoc have access to their         Figlenski Decl. ¶ 6, Exhibit 1 at
 4           test results through a secure online portal      page 19.
 5           provided by Quest Diagnostics.
 6     41.   Quest Diagnostics provides immediate             Figlenski Decl. ¶ 6, Exhibit 1 at
 7           notification to the staff member in the event    page 19.
 8           of a positive test via a telephone call and
 9           overnight mail.
10     42.   FCC Lompoc employees are obligated to            Figlenski Decl. ¶ 6, Exhibit 1 at
11           report positive test results and are directed    page 19.
12           not to report to work.
13     43.   Quest Diagnostics also provides a nightly        Figlenski Decl. ¶ 6, Exhibit 1 at
14           aggregate report of staff results to the BOP.    page 19.
15     44.   COVID-19 testing provided by Quest               Figlenski Decl. ¶ 6, Exhibit 1 at
16           Diagnostics is available at no charge to BOP page 19.
17           staff.
18     45.   During the initial outbreak at FCC Lompoc        Figlenski Decl. ¶ 7.
19           in the spring of 2020, the BOP’s Infection
20           Prevention staff coordinated a staff testing
21           clinic with the local health department at a
22           nearby local health clinic.
23     46.   Furthermore, as individuals working in a         Figlenski Decl. ¶ 7.
24           prison, all FCC Lompoc staff have access to
25           COVID-19 testing free of charge from
26           dozens of other locations in the community,
27           including Rite-Aid and CVS pharmacies.
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 1     47.   FCC Lompoc administered its first doses of        Figlenski Decl. ¶ 17.
 2           the Pfizer COVID-19 vaccine to inmates
 3           from December 28, 2020, through
 4           December 31, 2020.
 5     48.   Pursuant to the BOP’s COVID-19 Vaccine            Figlenski Decl. ¶ 17, Ex. 5 at 61.
 6           Guidance dated December 28, 2020,
 7           vaccinations were offered to FCC Lompoc
 8           staff first to decrease the possible
 9           introduction of COVID-19 into the
10           institution, and any remaining vaccinations
11           were offered to FCC Lompoc inmates.
12     49.   As there were not enough remaining doses          Figlenski Decl. ¶ 17.
13           to vaccinate all of the facility’s inmates, the
14           institution’s medical staff offered
15           vaccinations to inmates as set forth in the
16           BOP’s national guidance.
17     50.   Priority for vaccination is based upon the        Figlenski Decl. ¶ 17.
18           nature of the housing (prioritizing open bay
19           over celled housing) and the inmate’s
20           individual priority levels (1 – 4) which take
21           into account whether inmates are health
22           service unit workers, their age, and whether
23           they meet the CDC criteria for being at
24           increased risk for severe illness from
25           COVID-19.
26     51.   In offering vaccines to inmates in December Figlenski Decl. ¶ 18.
27           2020, FCC Lompoc started offering
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 1           vaccines to inmates at the USP Camp and
 2           FCI as those living spaces consist of open-
 3           bay dorms.
 4     52.   In December 2020, all inmates at USP           Figlenski Decl. ¶ 18.
 5           North Camp and South Camp were offered
 6           the vaccine and inmates at the FCI in J
 7           Dorm and K Dorm were officered the
 8           vaccine.
 9     53.   From December 28 through 31, 2020,             Figlenski Decl. ¶ 18.
10           medical staff at FCC Lompoc administered
11           429 doses of the Pfizer-BioNTech COVID-
12           19 Vaccine (“Pfizer vaccine”).
13     54.   On March 1, 2021, FCC Lompoc received a        Figlenski Decl. ¶ 19.
14           second batch of vaccine. This batch of
15           vaccine was the Moderna vaccine. FCC
16           Lompoc received 600 doses.
17     55.   On April 23, 2021, FCC Lompoc received         Figlenski Decl. ¶ 20.
18           another batch of the Pfizer vaccine. FCC
19           Lompoc received 110 doses.
20     56.   As of April 26, 2021, FCC Lompoc had           Figlenski Decl. ¶ 22(c).
21           offered the vaccine to all inmates at FCC
22           Lompoc, with the exception of two inmates
23           who were in pre-release quarantine who
24           were not scheduled to be at FCC Lompoc
25           for the administration of the second dose of
26           vaccine.
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 1     57.   Petitioner Vincent Reed received the first     Figlenski Decl. ¶ 21.
 2           dose of the Moderna vaccine on March 4,
 3           2021, and has tested negative as recently as
 4           November 16, 2020, though he previously
 5           had a positive lab result on a specimen
 6           collected March 30, 2020.
 7     58.   Petitioner Yonnedil Carror-Torres was          Figlenski Decl. ¶ 21.
 8           offered the vaccine on April 9, 2021,
 9           educated and given the opportunity to ask
10           questions of the infection control nurse at
11           FCC Lompoc and elected to refuse the
12           vaccine.
13     59.   Mr. Carror-Torres has not had a laboratory     Figlenski Decl. ¶ 21.
14           test confirming he has COVID-19, though
15           he has been tested multiple times, most
16           recently on January 25, 2021, with negative
17           findings each time.
18     60.   As of May 19, 2021, 241 out of 438 staff       Figlenski Decl. ¶ 22(a).
19           members have been fully vaccinated
20           through the BOP. This number does not
21           account for staff members who have
22           received vaccinations through community
23           sources.
24     61.   As of May 19, 2021, 1091 out of 1,862          Figlenski Decl. ¶ 22(b).
25           inmates have been fully vaccinated.
26     62.   As of May 19, 2021, 729 inmates have           Figlenski Decl. ¶ 22(b).
27           refused the vaccine.
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 1     63.   As of May 19, 2021, there are no inmates at      Figlenski Decl. ¶ 23.
 2           FCC Lompoc who have not yet been offered
 3           the vaccine.
 4     64.   FCC Lompoc is offering the vaccine to            Figlenski Decl. ¶ 24.
 5           newly arrived inmates at their intake into the
 6           facility upon their arrival.
 7     65.   The inmates are then placed in BEMR              Figlenski Decl. ¶ 24.
 8           scheduling and the vaccination is ordered
 9           from the BOP’s Central Fill and
10           Distribution Center in Pollack, Louisiana.
11           The BOP has shifted from a spoke and
12           wheel allocation system to a system in
13           which FCC Lompoc can order the specific
14           number of vaccine doses needed for newly
15           arrived staff and inmates and any inmates or
16           staff who change their mind and indicate
17           they now wish to receive the vaccine.
18     66.   72.82% of the inmates at FCC Lompoc have Figlenski Decl. ¶ 25, Ex. 6.
19           either recovered from COVID-19 or are
20           previously COVID-19 naïve inmates who
21           have been fully vaccinated.
22     67.   When inmates at FCC Lompoc are offered           Figlenski Decl. ¶ 26.
23           the COVID-19 vaccine, they are provided a
24           form by a medical provider in the event they
25           refuse vaccination and have the opportunity
26           to ask questions about the vaccine.
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 1     68.   There is abundant signage about the vaccine Figlenski Decl. ¶ 26.
 2           throughout the institution and educational
 3           materials on the TRULINCS system in both
 4           Spanish and English to educate inmates
 5           about the vaccine. FCC Lompoc has the
 6           ability to translate vaccine information into
 7           any language that is needed.
 8     69.   Additional staff was sent to FCC Lompoc to Figlenski Decl. ¶ 26.
 9           assist with vaccine administration and
10           vaccine education.
11     70.   FCC Lompoc is continuing to engage with         Figlenski Decl. ¶ 26.
12           inmates who previously refused the vaccine
13           to provide education and information about
14           the vaccine.
15     71.   To date, between 30 to 40 inmates who           Figlenski Decl. ¶ 26.
16           initially refused the vaccine changed their
17           minds when it was re-offered.
18     72.   Those inmates who refused the vaccine have Figlenski Decl. ¶ 26.
19           received and will continue to receive
20           additional opportunities to be vaccinated.
21           The BOP is evaluating the reasons inmates
22           are hesitant to accept the vaccine. Inmates
23           have the ability to submit a request to
24           medical staff for more information or to ask
25           questions about the vaccine and those in
26           chronic care are being counseled at their
27           chronic care appointments.
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 1     73.   FCC Lompoc has conducted 2,083 home          Declaration of Melissa Arnold
 2           confinement reviews pursuant to the Court’s (“Arnold Decl.”) filed at Dkt. No.
 3           Preliminary Injunction, with more reviews    243 at ¶ 6.
 4           being conducted as FCC Lompoc runs
 5           monthly updates to the class list.
 6     74.   From these reviews, 129 inmates were         Arnold Decl. ¶ 6.
 7           preliminarily approved for home
 8           confinement and 39 were approved for
 9           transfer to a Residential Reentry Center.
10     75.   As of May 4, 2021, 141 class members had     Arnold Decl. ¶ 7.
11           been placed in home confinement, 215 were
12           transferred to an RRC, 82 were granted
13           compassionate release, 124 were released,
14           and 153 were transferred.
15     76.   The BOP has increased the home               Dkt. No. 133 ¶ 12;
16           confinement population by approximately      https://www.bop.gov/coronavirus/
17           200% from March 2020 through December
18           2020 and has transferred over 22,800
19           inmates to home confinement.
20     77.   The BOP set temporary population targets     Declaration of Charles Hubbard
21           for low and minimum-security institutions    filed concurrently herewith
22           with open bay housing. As of May 24, 2021, (“Hubbard Decl.”), ¶¶ 4-5, Ex. 1.
23           at FCC Lompoc, the COVID-19 population
24           target for the Camp is 309 inmates (even
25           though there are 412 beds), for the North
26           Camp is 120 inmates (though there are 160
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 1           beds), and the FCI is 824 (though there are
 2           1,522 beds).
 3     78.   FCC Lompoc’s current population of 1,891       Hubbard Decl., ¶ 5;
 4           is a 29% population reduction from the         https:///www.bop.gov/locations/
 5           2,680 population alleged in the Complaint      institutions/lof;
 6           and well below the number of beds in the       https://www.bop.gov/locations/
 7           facility.                                      institutions/lom;
 8                                                          Dkt. 16 ¶ 2.
 9     79.   The Court appointed Dr. Homer Venters          Dkt. No. 69.
10           pursuant to Federal Rule of Evidence 706 to
11           conduct a site visit of FCC Lompoc and
12           prepare a report.
13     80.   Dr. Venters fist visited FCC Lompoc on         COVID-19 Inspection of BOP
14           September 1-2, 2020.                           Lompoc by Dr. Homer Venters,
15                                                          filed at Dkt. No. 101-1 at ¶ 7.
16     81.   Dr. Venters’ first report was filed with the   Dkt. No. 101.
17           Court on September 25, 2020.
18     82.   Dr. Venters’ first report made                 Dkt. 101-1 at ¶¶ 37-38.
19           recommendations about FCC Lompoc.
20     83.   Dr. Venters conducted a second visit of        Dkt. 239-1 at ¶ 2.
21           FCC Lompoc on April 20-21, 2021.
22     84.   Dr. Venters’ second report was filed with      Dkt. 239-1.
23           the Court at Dkt. 239-1.
24     85.   Dr. Venters’ second report makes               Dkt. 239-1 ¶ 29.
25           recommendations about FCC Lompoc.
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 1     86.   Dr. Jeffrey Beard believes that to the extent   Declaration of Jeffrey Beard filed
 2           Dr. Venters’ recommendations were not           concurrently herewith (“Beard
 3           already being implemented by FCC                Decl.”) ¶ 91, 125.
 4           Lompoc, those recommendations were
 5           either inconsistent with CDC guidance; or
 6           based on claims made by unidentified
 7           inmates about problems they were allegedly
 8           experiencing.
 9     87.   Dr. Jeffrey Beard visited FCI Terminal          Beard Decl. ¶¶ 1, 51, 129.
10           Island on September 8, 2020 and April 20-
11           21, 2021.
12     88.   Dr. Beard has reviewed Plaintiff’s              Beard Decl. ¶ 1.
13           complaint, the actions taken by the BOP and
14           FCC Lompoc in response to COVID-19,
15           and has reviewed Dr. Venters’ two reports
16           regarding FCC Lompoc.
17     89.   Dr. Beard determined and opined that FCC        Beard Decl. ¶ 153.
18           Lompoc is currently managed by a
19           knowledgeable, effective Warden and
20           management team, and the facility is clean
21           and well maintained.
22     90.   Dr. Beard determined and opined that at the     Beard Decl. ¶¶ 124, 126-127.
23           time of his visit, the management team was
24           complying with both BOP direction and
25           CDC guidance relative to managing
26           COVID-19 in a correctional facility.
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 1     91.   FCC Lompoc released 25% of its inmate          Beard Decl. ¶ 113.
 2           population from the time of Attorney
 3           General Barr’s memo on March 26, 2020 to
 4           September 4, 2020. Dr. Beard believes that
 5           this was a larger proportion than many other
 6           state and federal facilities around the
 7           country.
 8     92.   Dr. Beard determined and opined that the       Beard Decl. ¶ 154.
 9           vaccination program at FCC Lompoc is
10           going very well.
11     93.   Dr. Beard determined and opined that Dr.       Beard Decl. ¶¶ 91, 125.
12           Venters relies on unidentified inmates in
13           reaching his conclusions and often makes
14           recommendations not grounded in CDC
15           guidance. He also does not offer scientific
16           standards upon which the recommendations
17           are based.
18     94.   Dr. Beard determined and opined that Dr.       Beard Decl. ¶ 158.
19           Venters’ methodology for surveying
20           inmates is not a credible or sound source of
21           unbiased or reliable information. A random
22           sample of inmates would have been a better
23           source of information.
24     95.   Dr. Beard determined and opined that the       Beard Decl. ¶ 159.
25           BOP continues to update its COVID-19
26           policies and procedures to follow CDC
27           guidelines.
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 1     96.   Respondents retained epidemiologist Asma        Tekbali Decl. ¶ 5.
 2           Tekbali to opine as an expert on FCC
 3           Lompoc’s infection control and testing
 4           procedures.
 5     97.   Ms. Tekbali bore the lead responsibility as     Tekbali Decl. ¶ 1, Ex. A.
 6           an Infection Preventionist at Lenox Hill
 7           Hospital-Northwell Health
 8     98.   Her hospital was at the center of dealing       Tekbali Decl. ¶ 3.
 9           with New York’s COVID-19 crisis and is
10           believed to have admitted and cared for the
11           most COVID-19 patients in the world.
12     99.   To prepare her opinion on FCC Lompoc,           Tekbali Decl. ¶ 5.
13           Ms. Tekbali reviewed the inspection reports
14           by Dr. Venters and Dr. Beard, as well as
15           underlying documentation. She spoke with
16           FCC Lompoc prison governance and
17           infection control officers.
18     100. Ms. Tekbali explains that the efficacy rate      Tekbali Decl. ¶ 26.
19           of the Pfizer and Moderna vaccines is 94-
20           95%. The Pfizer vaccine was also shown in
21           clinical trials to be 100% effective at
22           preventing severe disease. Data from Israel
23           show that the Pfizer and Moderna vaccines
24           are highly effective across all age groups at
25           preventing symptomatic and asymptomatic
26           COVID-19 infections, hospitalizations,
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 1           severe disease and death, including the
 2           B.1.1.7 variant.
 3     101. Ms. Tekbali opines that “FCC Lompoc has           Tekbali Decl. Conclusion ¶ 1.
 4           effectively responded to a significant
 5           COVID-19 outbreak by collaborating with
 6           local health departments, adapting to and
 7           implementing pandemic response guidance
 8           from the CDC and BOP, constructing a
 9           COVID-19 hospital unit, providing masks
10           and materials for hand hygiene to inmates,
11           and offering vaccination to essentially all of
12           the inmates and staff.”
13     102. Ms. Tekbali opines that “In their complaint,      Tekbali Decl. Conclusion ¶ 2.
14           petitioners request adequate testing and
15           isolation, PPE, and proper treatment and
16           monitoring of inmates ill with the virus.
17           Based on the materials I have been
18           provided, I have determined that FCC
19           Lompoc has met these requests …”
20     103. Ms. Tekbali observes that “Another                Tekbali Decl. Conclusion ¶ 3.
21           indication of the facility’s successful effort
22           to stop transmission of the virus is the fact
23           that there are no positive inmates at FCC
24           Lompoc, in contrast to the COVID-19 rates
25           prevailing in California. While positive tests
26           have occurred, they have not led to large
27           new outbreaks at the facility, which
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 1           provides further proof that the infection
 2           control measures have been effective and
 3           proper.”
 4     104. Ms. Tekbali concludes that “The steps the         Tekbali Decl. Conclusion ¶ 6.
 5           BOP took to respond to and control FCC
 6           Lompoc’s outbreak went beyond CDC and
 7           BOP guidance, and the effectiveness of
 8           these actions are reflected today in the lack
 9           of any major outbreaks at the facility.
10           Particularly given the recent vaccination
11           efforts, I believe it is unlikely the facility
12           will see a repeat of the spring 2020
13           outbreak.”
14     105. Ms. Tekbali notes that “The near halt of          Tekbali Decl. Conclusion ¶ 5.
15           COVID-19 infections within FCC Lompoc
16           after vaccinations began is proof that
17           vaccinations are effective….”
18
19                           [PROPOSED] CONCLUSIONS OF LAW
20          1.     Summary judgment is proper where there is no genuine issue as to any
21    material fact and the moving party is entitled to judgment as a matter of law. Fed. R.
22    Civ. P. 56(a). A plaintiff must adduce evidence “sufficient to support a verdict in [his]
23    favor on every element of [his] claim for which [he] will carry the burden of proof.” In
24    re Apple Computer Sec. Litig., 886 F.2d 1109, 1113 (9th Cir. 1989).
25          2.     Reasonable efforts taken to reduce COVID-19 risk cannot rise to an Eighth
26    Amendment violation even where those efforts were imperfect and the harm imposed by
27    COVID-19 was “ultimately not averted.” Wilson v. Williams, 961 F.3d 829, 840 (6th Cir.
28    2020) (quoting Farmer, 511 U.S. at 844); Valentine v. Collier, 956 F.3d 797, 801 (5th
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 1    Cir. 2020); Swain v. Junior, 961 F.3d 1276, 1286 (11th Cir. 2020); Cameron v.
 2    Bouchard, 815 Fed. Appx. 978, 986 (6th Cir. 2020) (rejecting plaintiffs’ attempts to
 3    distinguish Williams because their “argument at most shows that defendants’ response
 4    was imperfect”)
 5          3.     Broad latitude must be given to the local officials entrusted with protecting
 6    the health and safety of its citizens. Calvary Chapel Dayton Valley v. Sisolak, No.
 7    19A1070, 2020 WL 4251360 (U.S. July 24, 2020); South Bay United Pentecostal
 8    Church v. Newsom, 140 S.Ct. 1613-1614 (May 29, 2020) (officials’ decisions “should
 9    not be subject to second-guessing by an unelected federal judiciary, which lacks the
10    background, competence, and expertise to assess public health and is not accountable to
11    the people.”).
12          4.     In a conditions-of-confinement case, a prison official violates the
13    prohibition against “cruel and unusual punishments,” U.S. Const. Amend. VIII, “only
14    when two requirements”—one objective, the other subjective—“are met.” Farmer v.
15    Brennan, 511 U.S. 825, 834, 846 (1994).
16          5.     To satisfy the Eighth Amendment standards, prison officials must ensure
17    that inmates receive adequate food, clothing, shelter, and medical care, and must “take
18    reasonable measures to guarantee the safety of the inmates.” Id. at 832.
19          6.     Inmates alleging Eighth Amendment violations based on unsafe prison
20    conditions must demonstrate that prison officials were deliberately indifferent to their
21    health or safety by subjecting them to a substantial risk of harm. Id. at 834.
22          7.     Prison officials display a deliberate indifference to an inmate’s well-being
23    when they consciously disregard an excessive risk of harm to the inmate’s health or
24    safety. Id. at 838-40.
25          8.     It is “only ‘the unnecessary and wanton infliction of pain’ … [which]
26    constitutes cruel and unusual punishment forbidden by the Eighth Amendment. Whitley
27    v. Albers, 475 U.S. 612, 619 (1986) (quoting Ingraham v. Wright, 430 U.S. 651, 670
28    (1977)).
                                                   24
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 1          9.     To obtain injunctive relief, Petitioners must demonstrate that “prison
 2    authorities’ current attitudes and conduct” meet the “high legal standard” of deliberate
 3    indifference, and will continue to do so in the future. Toguchi v. Chung, 391 F.3d 1051,
 4    1060 (9th Cir. 2004) (emphasis added); Farmer, 511 U.S. at 845.
 5          10.    The “objective prong” of the Eighth Amendment requires a showing that an
 6    inmate has been deprived “of the minimal civilized measure of life’s necessities.’”
 7    Farmer, 511 U.S. at 834.
 8          11.    Petitioners cannot show that the BOP is depriving them of the “minimal
 9    civilized measure of life’s necessities” or “violating contemporary standards of decency”
10    in addressing the risk of harm to inmates that COVID-19 presents.
11          12.    “A prison official’s duty under the Eighth Amendment is to ensure
12    reasonable safety.” Farmer, 511 U.S. at 844.
13          13.    Petitioners cannot meet the objective prong of the deliberate indifference
14    standard because FCC Lompoc’s response is aligned with official guidance from leading
15    world health authorities for mitigating the risks associated with the pandemic. FCC
16    Lompoc has vastly decreased any risk of outbreak by adhering to the CDC guidelines.
17    Measures including staff screening, mask wearing, and testing and quarantine procedures
18    for newly arriving inmates have kept new COVID-19 cases at bay.
19          14.    FCC Lompoc’s COVID-19 practices are the same measures that society
20    deems capable of reducing the risk of COVID-19 transmission, and thus reflect the
21    manner in which “today’s society chooses to tolerate” that risk. Helling, 509 U.S. at 36;
22    Grinis, 2020 WL 2300313, at *3 (“These affirmative steps may or may not be the best
23    possible response to the threat of COVID-19 within the institution, but they undermine
24    an argument that the respondents have been actionably deliberately indifferent to the
25    health risks of inmates.”); Nellson, 2020 WL 3000961, at *8 (finding no likelihood of
26    success on merits of Eighth Amendment conditions-of-confinement claim due to
27    COVID-19 and noting that “[c]ompliance with CDC protocols does not demonstrate that
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 1    defendants are disregarding a substantial risk to inmate health or failing to respond
 2    reasonably to the risks of COVID-19”).
 3          15.    “[A] mere difference of medical opinion is insufficient, as a matter of law,
 4    to establish deliberate indifference.” Toguchi v. Chung, 391 F.3d 1051, 1058 (9th Cir.
 5    2004) (internal quotations marks and citation omitted)).
 6          16.    An inmate who the BOP offers “the ability and opportunity to take
 7    measures to markedly reduce [their] risk of severe illness or death from COVID-19
 8    while incarcerated,” but who rejects such measures, cannot reasonably continue to
 9    accuse the BOP of being indifferent to their COVID-19 risk, to the point of violating the
10    Eighth Amendment by inflicting cruel and unusual punishment on them.
11          17.    Petitioners also fail to satisfy the subjective prong of their Eighth
12    Amendment claim, which requires them to show that Respondents “kn[ew] of and
13    disregard[ed] an excessive risk to inmate health or safety.” Farmer, 511 U.S. at 837.
14          18.    The subjective prong requires that “the official must both be aware of facts
15    from which the inference could be drawn that a substantial risk of serious harm exists,
16    and he must also draw the inference.” Id.
17          19.    The Eighth Amendment does not require perfect results. See id. at 844
18    (“prison officials who actually knew of a substantial risk to inmate health or safety may
19    be found free from liability if they responded reasonably to the risk, even if the harm
20    ultimately was not averted”).
21          20.    Petitioners cannot demonstrate that BOP officials currently are acting with
22    deliberate indifference and cannot show that today, Respondents are recklessly
23    disregarding an excessive risk to Petitioners’ safety, and that they will continue to do so
24    “into the future.” Id. at 845.
25          21.    Where a prisoner “seeks injunctive relief to prevent a substantial risk of
26    serious injury from ripening into actual harm, the subjective factor . . . should be
27    determined in light of the prison authorities’ current attitudes and conduct[.]” Id. at 845
28    (internal quotation marks omitted).
                                                   26
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 1          21.    BOP officials have not acted with deliberate indifference to the risk that
 2    COVID-19 poses to inmate populations; rather, they have taken aggressive and
 3    appropriate measures to abate that risk at FCC Lompoc.
 4          22.    Although Petitioners and Respondents have minor fact disputes over the
 5    implementation about these measures, even if Petitioners’ allegations are true, it does not
 6    rise to the level of deliberate indifference. See Wragg, 2020 WL 2745247, at *21 (no
 7    Eighth Amendment violation because there is “no evidence of Respondents’ liable state
 8    of mind” and noting “physical distancing is not possible in a prison setting, as Petitioners
 9    urge, does not an Eighth Amendment claim make and, as such, Petitioners are not likely
10    to succeed on the merits”); Money v. Pritzker, 453 F.Supp.3d at 1131 (prisoner
11    petitioners have “no chance of success” as to deliberate indifference because of the
12    measures taken by the Illinois Department of Corrections).
13          23.    Petitioners cannot succeed on their Eighth Amendment claim given the
14    actions taken by the BOP at FCC Lompoc. See Farmer, 511 U.S. at 845 (“[P]rison
15    officials who act reasonably cannot be found liable under the Cruel and Unusual
16    Punishments Clause.”). There is no dispute of material fact that Respondents acted with
17    a high degree of care, and were not acting with deliberate indifference that would
18    transform conditions at FCC Lompoc into an Eighth Amendment “punishment.”
19          24.    The evidence demonstrates that Respondents acted with an extremely high
20    degree of care, and certainly were not acting with deliberate indifference that would
21    transform conditions at FCC Lompoc into an Eighth Amendment “punishment.” See
22    Wilson v. Seiter, 501 U.S. 294, 298, 300 (1991).
23          25.    No further relief is available as Respondents have already complied with the
24    Preliminary Injunction in this case. Any further relief ordering inmates to be transferred
25    to home confinement constitutes a prison release order under the PLRA which may not
26    be enacted by a single district judge, violates 18 U.S.C. § 3621.
27          26.    A district court does not have jurisdiction to challenge the BOP’s decisions
28    about places of imprisonment. See Reeb v. Thomas, 636 F.3d 1124, 1126-28 (9th Cir.
                                                  27
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 1    2011) (courts lack jurisdiction to review BOP placement decisions under 18 U.S.C.
 2    §§ 3621-25)
 3          27.     Petitioners never moved for class certification beyond certifying the
 4    provisional class for purposes of the preliminary injunction and no class is certifiable at
 5    this juncture in light of individual inmates electing to refuse offered vaccinations.
 6          28.     The Court’s Preliminary Injunction has expired under 18 U.S.C. §
 7    2626(a)(2).
 8          29.     Petitioners have failed to exhaust administrative remedies and may not
 9    bring suit for further injunctive relief regarding FCC Lompoc’s response to COVID-19
10    until they have fulfilled the PLRA’s exhaustion requirements. Maronyan v. Toyota
11    Motor Sales, USA, Inc., 658 F.3d 1038, 1041-42 (9th Cir. 2011).
12          30.     Respondents are entitled to summary judgment as to all of Petitioners’
13    claims.
14          31.     Any Undisputed Fact which is deemed a Conclusion of Law shall be
15    considered a Conclusion of Law.
16
17     Dated: May 25, 2021                       Respectfully submitted,
18                                               TRACY L. WILKISON
                                                 United States Attorney
19                                               DAVID M. HARRIS
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